                   Case: 3:21-cv-00774-jdp Document #: 1-2 Filed: 12/07/21 Page 1 of 16




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                                                                                                     Transmittal Number: 24121387
Notice of Service of Process                                                                            Date Processed: 11/29/2021

Primary Contact:           Matt Fichter
                           National Interstate Corporation
                           3250 Interstate Dr
                           Richfield, OH 44286-9000

Electronic copy provided to:                   Kathy Juhasz

Entity:                                       Vanliner Insurance Company
                                              Entity ID Number 0116043
Entity Served:                                Vanliner Insurance Company
Title of Action:                              Kim Marie Lebard-Rankila vs. Travis Edward Baker
Document(s) Type:                             Summons and Amended Complaint
Nature of Action:                             Contract
Court/Agency:                                 Douglas County Circuit Court, WI
Case/Reference No:                            2021CV000246
Jurisdiction Served:                          Wisconsin
Date Served on CSC:                           11/24/2021
Answer or Appearance Due:                     45 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
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                                              715-394-6624

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                                  3:21-cv-00774-jdp   5     Filed 11-10-2021
                                                              #: 1-2   Filed: 12/07/21
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                                                                                        1 of 1 2 of 16
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                                                        Class Code: Personal Injury/Automobile




                                     VANLINER INSI IRANCE COMPANY __ DANE COUNTY LEGAL NOTICE
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               Circuit Court office. The electronic filing system is designed to allow for fasJ,~eliable ·ex.change.
               of documents in court cases.                                                  ,/'., \ ::_ _,... ::' ·.
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                 Parties who register as electronic parties can file, receive and view·ao.c1,,1ments"pnJinJi1hrough
                the court electronic filing website. A document filed electrqnically,has the same.'legal effect as
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                 You may also register as an electronic P?rty-by fol!q~ing-t~e·ln-sfructions found at
                 http://efiling.wicourts.gov/ and may-~itharaW\as\an·electrcmic party at any time. There is a
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                lJ~less y6u r~gister as an electronic party, you will be served with traditional paper documents
                by'°o!h~:parties and by the court. You must file and serve traditional paper documents.

                Registration is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
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                website.

                 If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                 715-395-1203.

                                                                                      Douglas County Circuit Court
                                                                                      Date: November 10, 2021




 GF-180(CCAP), 11/2020 Electronic Filing Notice                                                                                                  §801.18(5)(d), Wisconsin StaMes
                                                    This form shall not be modified. It may be supplemented with additional material.
   CaseCase:
        2021 CV000246    DocumentDocument
              3:21-cv-00774-jdp   7    Filed 11-10-2021
                                          #: 1-2  Filed: 12/07/21  Page
                                                              Page 1 of 13 3 of 16
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                                                                                   Douglas County, WI
STATE OF WISCONSIN CIRCUIT COURT DOUGLAS COUNTY                                    2021 CV000246

KIM MARIE LeBARD-RANKILA &
STEVEN RANKILA
8219 East Berg Park Road
Poplar, Wisc.onsin 54864,
                            Plaintiffs
       vs.

TRAVIS EDWARD BAKER
39121 TwilightR.oad
Onamia, Minnesota 56359
      arid
LINN STAR TRANSFER
d/b/a MIDWEST ADVANTAGE
TRANSFER, INC.
9440 Wright Bros. Ct. SW
Cedar Rapids, Iowa 52404
     .and
CDI DELIVERIES, LLC
722 West College Drive, Apt. 306
Brainerd, Minnesota 56401
       and
ABCCOMPANY
       and
VANLINER INSURANCE COMPANY
1 Premier Drive
St. Louis, Missouri 63026
       and
XYZ INSURANCE COMPANY,

                            Defendants.


                                   SUMMONS

TO:    EACH PERSON NAMED ABOVE AS A DEFENDANT:

       You are hereby notified that the Plaintiffs ·named above have filed a lawsuit or other

legal action against you. The Complaint, which is attached, states the nature and basis of the

legal action.

                                              1
   CaseCase:  3:21-cv-00774-jdp
        2021 CV000246    DocumentDocument
                                  7        #: 1-2
                                        Filed      Filed: 12/07/21
                                              11-10-2021       Page Page
                                                                    2 of 134 of 16




       Within twenty (20) days of receiving this Summons (60 days if you are the United

States, 45 days if you are the State of Wisconsin or an insurance company or if this is an action

in tort), you must respond with a written Answer, as that term is used in Chapter 802 of the

Wisconsin Statutes, to the Complaint. The Court may reject or disregard an answer that does

not follow the requirements of the statutes. The Answer must be sent or delivered to the Court,

whose address is. Douglas County· Courthouse, 1313 Belknap Street, Superior, Wisconsin

54880 and to Dennis Cochrane, Plaintiffs' attorney, whose address is, Marcovich, Cochrane,

Milliken, Swanson andKropid, LLP, 1214 Belknap Street, Superior, Wisconsin 54880.

       You may have an attorney help or represent you.

       If you do not provide a proper answer within twenty (20) days (60 if you are the United

States, 45 days if you are the State of Wisconsin or an insurance company), the Court may grant

judgment against you for the award of money or other legal action requested in the Complaint,

and you may lose your right to object to anything that is or may be incorrect in the Complaint.

A judgment ·may be enforced as provided by law. A judgment awarding money may become a

lien against any real estate you own now or in the future, and may also be enforced by

garnishment or seizure of property.

        Dated this /   Vctay of November 2021.
                                        ~:;{TI;f-1.1     H, COCHRANE, MILLIKEN, SWANSON
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                                      1214 Belknap Street
                                      Superior, Wisconsin 54880
                                      (715) 394-6624
                                      denniscochrane@superiorlawyers.org

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        2021 CV000246    DocumentDocument
              3:21-cv-00774-jdp  7     Filed
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                                                             Page 3Page
                                                                    of 13 5 of 16
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STATE OF WISCONSIN CIRCUIT COURT DOUGLAS COUNTY                                   Clerk of Court
                                                                                  Douglas County, WI

KIM MARIE LeBARD-RANKILA &                                                        2021 CV000246

STEVEN RANK.ILA
8219 EastBergParkRoad
Poplar, Wisconsin 54864,
                            Plaintiffs
      vs.

TRAVIS EbW ARD BAKER
39121 Twilight Road
Onamia, Minnesota 56359
       and
LINN STAR TRANSFER
d/b/a MIDWEST ADVANTAGE
TRANSFER, INC.
9440 Wright Bros. Ct. SW
Cedar Rapids, iowa 52404
       and
CDI DELIVERIES, LLC
722 West College Drive, Apt. 306
Brainerd, Minnesota 5640 l
       and
ABC COMPANY
     and
VA."NLINER INSURANCE COMPANY
1 Premier Drive
St. Louis, Missouri 63026
       and
XYZ INSURANCE COMPANY,

                            Defendants.


                              COMPLAINT

       NOW COMES the above-named Plaintiffs, Kim Marie LeBard-Rankila and Steven

Rankila, by their attorneys, Marcovich, Cochrane, Milliken, Swanson & Kropid, by Dennis

Cochrane, and for their Complaint respectfully allege and show to the Court as follows:

       1.     Plaintiff Kim Marie LeBard-Rankila is an adult citizen of the State of Wisconsin

who resides at 8219 East Berg Park Road, Poplar, \Visconsin 54864.
  CaseCase:
       2021 CV000246    DocumentDocument
             3:21-cv-00774-jdp   7    Filed 11-10-2021
                                         #: 1-2  Filed:              Page 4
                                                                12/07/21    of 13 6 of 16
                                                                          Page




       2.     Plaintiff Steven Rankila is an adult citizen of the State of Wisconsin who resides

at 8219 East Berg Park Road, Poplar, \Visconsin 54864. At all times material to this lawswt

Steven Ranl<lla has been and still is the legal spouse of Plaintiff Kim Marie LeBard-Rankila.

       3.     Defendant Travis Edward Baker is on information and belief an adult citizen of

the State of Minnesota who resides at 39121 Twilight Road, Onamia, Minnesota 56359.

       4.     Defendant Linn Star Transfer d/b/a Midwest Advantage Transfer, Inc. is on

information and belief an Iowa Company whose home office is listed as Linn Star Transfer,

9440 \Vright Bros. Ct. SW, Cedar Rapids, Iowa 52404 and Registered Agent is Dennis C.

Munson, 9440 ·wright Bros. Ct. SW, Cedar Rapids, Iowa 52404 and does substantial business

in Douglas County, Wisconsin.

       5.      That at all times material hereto the Defendant Linn Star Transfer d/b/a Midwest

Advantage Transfer, Inc. was the dispatcher, the employer, and/or controlling the acts of

Defendant Travis Edward Baker who was operating a tmck owned by the Defendant LCDI

Deliveries, LLC.

       6.     That at all times material hereto, Defendant Travis Edward Baker was operating

the tmck involved in the subject collision described herein, and at the time of said collision,

Defendant Travis Edward Baker was an agent and/or employee of the Defendant Linn Star

Transfer d/b/a Midwest Advantage Transfer, Inc. That Defendant Travis Edward Baker was

acting within the proper course and scope of his agency and/or employment on or about

November 20, 2018, at the time of the subject collision described herein.

       7. .    Defendant Linn Star Transfer d/b/a Midwest Advantage Transfer, Inc. is liable

for the acts of Defendant Travis Edward Baker at the time and location of the collision under

the principles of respondeat superior, agency and vicarious liability.

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      Case:
   Case      3:21-cv-00774-jdp
        2021 CV000246   DocumentDocument
                                 7        #: 1-2
                                       Filed      Filed: 12/07/21
                                             11-10-2021        Page Page
                                                                    5 of 137 of 16




       8.      CDI Deliveries, LLC is a foreign corporation located at 722 West College Drive,

Apt. 306, Brainerd, Minnesota 56401 and is a trucking company engaged       moperations in the
State of Wisconsin, among others. That all times material hereto CDI Deliveries, LLC, its

successors and assigns were the employer for Defendant Travis Edward Baker.

       9.      That at all times material hereto, Defendant Travis Edward Baker was operating

a trnck which was involved in the subject collision described herein; ahd at the time of said

collision, Defendant Travis Edward Baker was an agent and/or employee of CDI Deliveries,

LLC, its successor and assigns. That Defendant Travis Edward Baker was acting within the

proper course and scope of his employment on or about November 20, 2018, at the time of the

subject collision described herein.

        10.    CDI Deliveries, LLC and its successors and assigns are liable for the acts. of

Defendant Travis Edward Baker at the time and location of the collision under the principles of

respondeat superior, agency, vicarious liability and successor liability.

        11.    Defendant ABC Company is an Unknown Defendant, named by this fictitious

name pursuant to Wis. Stat. §807.12 because this Defendant's true name and identity is

unknown to Plaintiff. On information and beliet~ Unknown Defendant ABC Company is a

company that Defendant Travis Edward Baker may have been an employee or an agent at the

time of the collision.

        12.    Plaintiff alleges on information and belief that there was in force at the time of

said accident an insurance policy insuring the Defendant ABC Company issued by

Defendant XYZ Insurance Company (hereinafter called "the insurer"), whereby the insurer

insured and agreed to indemnify and save harmless the insured named in said policy and any

person suffering injury on said premises of Defendant ABC Company against all liability and

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  CaseCase:  3:21-cv-00774-jdp
       2021 CV000246    DocumentDocument
                                 7        #: 1-2
                                       Filed       Filed: 12/07/21
                                             11-1 0-2021        Page Page
                                                                     6 of 138 of 16




damage suffered, or alleged to have been suffered, by reason of the negligent actions of

Defendant ABC Company, their servants, agents and employees; that said policy contained a

provision whereby the insurer reserved the right to defend any and all actions against the

named insured, Defendant ABC Company and to control the handling, settling and

adjustment of claims as the result of any such negligent actions. By reason of the policy, the

insurer has an interest in this litigation adverse to the Plaintiff and is a proper party to these

proceedings.

       13.     That on or about N ove1rtber 20, 2018 at 10:07 am. at or near the intersection of

East Fifth Street and 14th Avenue East in the City of Superior, Douglas County, Wisconsin, a

motor vehicle collision occurred involving a vehicle operated by the Defendant Travis Edward

Baker, which was owned by Defendant Linn Star Transfer d/b/a Midwest Advantage Transfer,

Inc., and a vehicle operated by the Plaintiff Kim Marie LeBard-Rankila.

        14.    The collision \Vas not caused by any negligent conduct of Plaintiff Kim Marie

LeBard-Rankila, who was wearing her shoulder and lap belt.

       15.     That the collision was caused by Defendant Travis Edward Baker's negligent

operation of his vehicle in failing to yield the right of way and making a left tum from East

5 th Street onto 14th Avenue East across the path of the vehicle of Plaintiff Kim Marie LeBard-

Rankila. '!'hat further the Defendant Travis Edward Baker \Vas driving inattentively, failed    to
maintain a proper lookout and to manage and control his vehicle and decrease his speed and

stop for the Rankila vehicle.      That Defendant Travis Edward Baker was cited by the

investigating police officer for failure to yield right of way while making left turn.

        16.    As a direct result of said collision Plaintiff Kim Marie LeBard-Rankila

suffered severe personal injuries, among other things, to her neck and both right and left
                                                4
   Case 2021 CV000246  Document 7
      Case: 3:21-cv-00774-jdp DocumentFiled 11-10-2021
                                        #: 1-2                Page Page
                                                 Filed: 12/07/21   7 of 139 of 16




shoulders. Further the injmies have caused Plaintiff Kim Marie LeBard-Rankila temporary

and permanent pain and suffering, physical limitations and restrictions, disability, past and

future medical expenses and loss of past and future earning capacity all to her damage in an

amount to be established by the evidence at.trial.

       17.     Plaintiff Steven Rankila, husband of Plaintiff Kim Marie LeBard-Rankila, has

necessarily incun-ed medical and hospital expenses, by reason of said incident, and has lost the

services, society, companionship and consortium of Plaintiff Kim Marie LeBard-Rankila to his

damage, in an amount to be determined by the evidence.

       18.     Plaintiffs I<.im Marie LeBard-Ran1dla and Steven Rankila, allege on

infonnation and belief that there was in force at the time of said accident an insurance policy

on the vehicle then and there operated by Defendant Travis Edward Baker issued by

                                                                          11
Defendant Vanliner Insurance Company (hereinafter referred to as               insurer 11 ) to the owner

of the vehicle, whereby the insurer insured and agreed to indemnify and save harmless the

insured named in said policy and any person operating said vehicle with the permission of

the named insured, against all liability and damages suffered or alleged to have been suffered

by any third person by reason of the negligent operation of said vehicle; that ·said policy

contained a provision whereby insurer reserved the right to defend any and all actions against

the named insured, and to control the handling, settling and adjustment of claims as the result

of any such negligent operation; that said vehicle at the time of said accident was being

operated with the permission of the named insured. By reason of said policy, the insurer has

an interest in this litigation adverse to the Plaintiff and is a proper party to these proceedings.

        19.    Defendants CDI, Deliveries, LLC, its successors and assigns, ABC Company,

Linn S~ar Transfer d/b/a Midwest Advantage Transfer, Inc. and its drivers like Defendant

                                                 5
  Case 2021 CV000246
     Case:              Document
            3:21-cv-00774-jdp    7   Filed
                              Document     11-10-2021
                                       #: 1-2   Filed:          12/07/21
                                                                      PagePage
                                                                           8 of 1310 of 16




Travis Edward Baker have a heightened duty of care when operating a commercial motor

vehicle.

                 Federal regulation ..... dictate that those operating commercial
                 motor vehicles must generally carry a commercial driver's
                 license. Federal regulations also specify the knowledge and
                 skills drivers must possess in order to obtain such licensure ...
                 First, 49 C.F. R. §3 83 .110 provides that to ensure safety,
                 commercial motor vehicle drivers are required to have the
                 baseline level of knowledge and skill set forth in stibsequent
                 provisions. It states as follows:

                 All drivers of [commercial motor vehicles] must have the
                 knowledge and skill necessary to operate a [commercial motor
                 vehicle] safely as contained in this subpart. The specific types
                 of items that a State must include in the knowledge and skills
                 test that it administers to [commercial driver's license]
                 applicants are included in this subpart.

                 Second, 49 C.F ;R. §383.111 sets forth and explains 20 areas in
                 which commercial motor vehicle operators are required to have
                 specified knowledge to obtain a commercial driver's license.
                 These areas include safe operations regulations, speed
                 mru1agement, extreme driving conditions~ hazard perceptions,
                 and emergency maneuvers.

                 Third, 49 C. F .R. §383 .113 enumerates the skills a commercial
                 motor vehicle operator must possess to obtain a commercial
                 driver's license. These skills include identifying safety-related
                 vehicle parts, like. the engine compartment and brakes;
                 inspecting and operating air brakes; and safely driving the
                 vehicle by, for example, possessing the (5) ability to position the
                 motor vehicle to negotiate safely and then make left, or right
                 turns, and (8) ability to observe the road or behavior of other
                 motor vehicles, particularly before changing speed or direction.

       Dakter v. Cavallino, 2015 WI 67, ,~[74-77, 363 Wis. 2d 738, 766-67, 866 N.W.2d
       656, 669-70 (internal citations omitted).

           20.   Yet despite the higher standard of care, Defendants Travis Edward Baker, CDI

Deliveries, LLC, its successors and assigns, ABC Company, Linn Star Transfer dlb/a



                                                  6
  Case 2021CV000246
    Case:              Document
           3:21-cv-00774-jdp    7   Filed
                             Document     11-10-2021
                                      #: 1-2               PagePage
                                              Filed: 12/07/21   9 of 13
                                                                      11 of 16




Midwest Advantage Transfer, Inc. collectively violated the following which include, but are

not limited to:

                  (a)    49 C.F.R.§383.111-Required Knowledge;
                  (b)    49 C.F.R.§390.3 - General Applicability;
                  (c)    49 C.F.R.§396.7 - Unsafe Operations Forbidden;
                  ( d)   Wis. Stat. §346.89 - Inattentive Driving;
                  (e)    \Vis. Stat. §346.34(1)3 -Turning'.                 .
                  (f)    Wis. Stat. §346.18(2) - FaiJ/Yield while Making Left Turn

       21.        The collision was preventable by Defendant Travis Edward Baker.

       22.        The negligence of Defendant Travis Edward Baker, while driving a

commercial vehicle as an agent and/or employee for Defendants CDI Deliveries, LLC, its

successors and assigns; ABC Company and Linn Star Transfer d/b/a Midwest Advantage

Transfer, Inc. was a substantial factor in producing the injuries and damages which the

:Plaintiff Kim LeBard-Rartldla has sustained in the November 20, 2018 motor vehicle

collision.

                                         COUNT ONE
       Negligence as to Defendants Travis Edward Baker, CDi Deliveries, LLC, its
             successors and assigns, ABC Company, and Linn Star Transfer
                         d/b/a Midwest Advantage Transfer, In~.

        23.       Plaintiffs incorporate by reference all paragraphs of this Complaint as though

fully stated herein.

        24.       Under the tort doctrine of respondeat superior, an employer, principal and

successor can be held vicariously liable for the negligent acts of its agents and/or employees

which they are acting within the scope of their agency and employment. Kerl v. Dennis

Rasmussen, Inc., 2004 \VI 86,      11   17, 23, 273 Wis. 2d 106, 117, 120-21, 682 N.W.2d 328,

333-34, 335.



                                                  7
   Case 2021 CV000246
      Case:             DocumentDocument
             3:21-cv-00774-jdp   7     Filed 11-10-2021
                                         #: 1-2   Filed:       12/07/21
                                                                     Page Page   12 of 16
                                                                          10 of 13




        25.    As referenced in paragraph supra, Defendants CDI Deliveries, LLC, its

successors and assigns, ABC Company, Linn Star Transfer d/b/a Midwest Advantage

Transfer, Inc., and its drivers like Defendant Travis Edward Baker have a heightened duty of

care.

        26.    Defendant Travis Edward Baker breached that duty.

        27:    Defendant Travis Edward Baker's actions were reckless and wanton and

entitle Plaintiff to punitive damages.

        28.    Defendant CDI Deliveries, LLC, its successors and assigns; ABC Company

and Linn Star Transfer d/b/a Midwest Advantage Transfer, Inc. are liable for the acts of

Defendant Travis Edward Baker at the time and location of the collision under theories of

respondeat superior, agency, and Vicarious liability and successor liability.

        29.    As a direct and prox.im~te cause of the negligence of Defendant Travis Edward

Baker, the Plaintiff Kim LeBard-Rankila has suffered past and future pain, suffering,

disability, medical expenses, and loss of earning capacity.

        30.    All of the above damages were directly and proximately ca.used by the

aforementfoned negligence of Defondant Travis Edward Baker and were incurred without

contributory negligence on the part of Plaintiff, or an opportunity for the Plaintiff Kim

LeBard-Rankila to avoid the co11ision.

                                         COUNT TWO
        Negligent Entrustmenfas to Defendants CDI Deliveries, LLC, its successors
                 and assigns, ABC Company and Linn Star Transfer d/b/a
                            Midwest Advantage Transfer, Inc.

        31.    Plaintiffs incorporate by reference all paragraphs of this Complaint as though

fully stated herein.

                                                8
  Case 2021CV000246
    Case:              Document
           3:21-cv-00774-jdp    7
                             Document #: 1-2
                                    Filed     Filed: 12/07/21
                                          11-10-2021       PagePage   13 of 16
                                                                11 of 13




        32.    The elements of a negligent entrustment claim in Wisconsin are:

               (a)     an entruster initially in control of the vehicle;
               (b)     an entruster who permitted - directly or through a third
                       person - the entrustee to operate the vehicle; and
               (c)     at the time the entruster permitted the entrustee to
                       operate the vehicle, the entruster knew, or with
                       reasonable car should have known, that the entrustee was
                       likely, because of lack of capacity or youth or
                       inexperience or another factor, to use the vehicle in a
                       manner creating an unreasonable risk · of harm to the
                       plaintiff, others, or their property.

               See laquinta v. Allstate Ins. Co., 180 Wis. 2d 661, 668-69, 510 N.\V.-2d 715,
               718 {Ct. App. 1993); see also Wis. JI-Civil 1014


                                    COUNT THREE
           Negligent Retention, Training & s·upervision as to Defendants CDI
        Deliveries, LLC, its successors and assigns, ABC Company and Linn Star
                     Transfer d/b/a Midwest Advantage Transfer, Inc.

        33.    Plaintiffs incorporate by reference all paragraphs of this Complaint as though

fullv stated herein.
   ,I




        34.    The elements of a negligent training or supervision claim in \Visconsin are:

               (a)     the employer O\\.ned the plaintiff a duty of care;
               (b)     the employer breached the duty of care during training or supervision
                       of the employee;
               (c)     the employee's act or omission caused the plaintiffs injuries; and
               (d)     the employer's act or omission caused the employee's act or omission.

               See Doe 67C v. Archdiocese of1vfilwaukee, 2005 Wl 123, ~43, 284 Wis. 2d 307,
               3320::33, 700N.W.2d i80, 192.

        35.    Defendants CDI Deliveries~ LLC, its successors and assigns, ABC Company

and Linn Star Transfer d/b/a Midwest Advantage Transfer, Inc. have a duty to use reasonable

care to select, retain, train and supervise only employees who are competent and fit to

perform the duties required as an employee.


                                               9
     Case:
   Case 2021 3:21-cv-00774-jdp
             CV000246          Document
                         Document 7     #: 1-2
                                      Filed     Filed:
                                            11-10-2021     12/07/21
                                                                 PagePage   14 of 16
                                                                      12 of 13




       36.    Defendants CDI Deliveries, LLC, its successors and assigns, ABC Company

and Linn Star Transfer d/b/a Midwest Advantage Transfer, Inc. knew or should have known

that Defendant Travis Edward Baker would be likely to operate a motor vehicle in a

negligent and reckless manner.

       37.    Defendants CDI Deliveries, LLC, its successors and assigns, ABC Company

and Linn Star Transfer d/b/a Midwest Advantage Transfer, Inc. knew or should have known

that Defendant Travis Edward Baker was not competent or fit for the duties required of him

as an employee.      Defendants CDI Deliveries, LLC, its successors      and assigns, ABC

Company and Linn Star Transfer d/b/a Midwest Advantage Transfer, Inc. breached their duty

to use reasonable care to select and retain an employee that was competent and fit for the

position.

       3 8.   As a result of Defendants CDI Deliveries, LLC, its successors and assigns,

ABC Company and Linn Star Transfer d/b/a Midwest Advantage Transfer, Inc. 's 11egligence

in hiring and retaining Defendant Travis Edward Baker, Plaintiff Kim LeBard-Rankila was

injured a previously alleged in this complaint.

       39.    Defendants CDI Deliveries, LLC, its successors and assigns, ABC Company

and Linn Star Transfer d/b/a Midwest Advantage Transfer, Inc.'s actions were reckless and

wanton and the Defendants otherwise acted maliciously, and/or with intentional disregard of

the rights of the Plaintiffs herein; said conduct being sufficiently egregious to justify the

consideration and recovery of punitive damages as an appropriate sanction and entitle

Plaintiff Kim LeBard-Rankila to punitive damages.

        '\-VHEREFORE, the Plaintiffs Kim Marie LeBard-Rankila and Steven Rankila

demand trial by jury of twelve and judgment as follows:

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Case 2021 CV000246
  Case:               Document
          3:21-cv-00774-jdp    7   Filed
                            Document     11-10-2021
                                     #: 1-2  Filed: 12/07/21
                                                          PagePage   15 of 16
                                                               13 of 13




   (a)    for an award of compensatory damages against Defendants CDI Deliveries,
          LLC, its successors and assigns, ABC Company, Linn Star Transfer d/b/a
          Midwest Advantage Transfer, Inc., XYZ Insurance Company, Travis Edward
          Baker and Van.liner Insurance Company in favor of Plaintiffs Kim LeBard-
          Rankila and Steven Rankila in an amount to be determined at trial;
   (b)    for an award of punitive damages against Defendant CDI Deliveries, LLC, its
          successors and assigns, ABC Company, Linn Star Transfer d/b/a Midwest
          Advantage Transfer, Inc., XYZ Insurance Company, Travis Edward Baker and
          Van.liner Insurance Company in favor of Plaintiffs Kim LeBard-Rankila and
          Steven Rankila in an amount to be determined at trial;
   (c)    for an award of costs and fees against Defendant CDI Deliveries, LLC, its
          successors and assigns, ABC Company, Linn Star Transfer d/b/a Midwest
          Advantage Transfer, Inc., XYZinsurance Company, Travis Edward Baker and
          Vanliner Insurance Company in favor of Plaintiffs Kim LeBard-Rankila and
          StevenRankila in an amount to be determined at trial; and
   (d)    any other relief that this Court deems just and proper.

   Dated this /   b day of November 2021.
                              MARCOVICH, COCHRANE, MILLIKEN, SWANSON
                              &KRO           P.




                              DENNIS COCHRANE -- WI St
                              1214 Belknap Street
                              Superior, Wisconsin 54880
                              (715) 394-6624
                              denniscochrane@superiorlawyers.org




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                                                              12/07/21    of 1 16 of 16
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STATE OF WISCONSIN                        CIRCUIT COURT                DOUGLA!go!z~ID~6


KIM MARIE LEBARD-RANKILA AND
STEVEN RANK.ILA

                             Plaintiffs
V.                                                      CASE NO. 2020-CV-000246

                                                        Case Code: 30101
TRAVIS EDWARD BAKER,
LINN STAR TRANSFER
d/b/a MIDWEST ADVANTAGE
TRANSFER, INC.,
CDI DELIVERIES, LLC,
ABC COMPANY,
V ANLINER INSURANCE COMPANY, And
XYZ INSURANCE COMPANY
                     Defendants


                                NOTICE OF APPEARANCE


TO:      Douglas County Clerk of Circuit Court

        PLEASE TAKE NOTICE that Matthew C. Lein of Lein Law Offices has also been retained
to represent the Plaintiffs in the above captioned matters.

Dated: November 16, 2021

                                                 Electronically sign,ed Matthew C. Lein
                                                 Lein Law Offices, LLP
                                                 Matthew C. Lein
                                                 Attorney I.D. # 1084028
                                                 15692 Hwy 63 North
                                                 PO Box 761
                                                 Hayward, Wisconsin 54843
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